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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

             v.                                     CRIMINAL NO.:
                                                                                         -------~




                            CONDITIONS OF RELEASE ORDER

                                                                          ''   ,,,,,,,
                                                            ' ' '' __:,:;/J;J'

Defendant is released on bail in the amount of: $    5~;    0 Oo
          /    O/R
       ___ cash
                 secured by:
               - - - %cash
               ___ property
               at: _ _ _ _ _ _ _ _ _ _ _~---------------
       ___ Waiver of Clerk's office requirements - Execute an Agreement to Forfeit the
Property stated above with a copy of the deed as indicia of ownership.


I                                 .·PRETRIAL SERVICES.

____t./oefendan~l report to Pretrial Services:
                  ·    as directed by Pretrial Services.
                      times per week in person.
                      times per week via telephone.
    Defendant shall attend mental health services under the guidance and supervision of
    Pretrial Services.
_ _ Defendant shall submit to random drug testing as directed by Pretrial Services.
_ _ Defendant shall undergo drug/alcohol treatment if necessary as determined by Pretrial
    Services.
_ _ Defendant shall submit to electronic monitoring at the following address:


      _ _ _This Court, based upon evidence that Defendant has adequate financial resources,
      finds that he/she shall pay all or part of the cost of the court-ordered monitoring program,
      in an amount to be specified by Pretrial Services.

      _ _ Curfew. You are restricted to your residence every day from              to             ,
      during which electronic monitoring will be in place, or as directed by the pretrial services
      office or supervising officer.

             Home Detention. You are restricted to your residence at all times except for
      employment; education; religious services; medical, substance abuse, or mental health
      treatment; attorney visits; court appearances; court-ordered obligations; or other activities
      approved in advance by the pretrial services office or supervising officer;


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       _ _ _ Home Incarceration. You are restricted to 24-hour-a-day lock-down at your
       residence except for medical necessities and court appearances or other activities
       specifically approved by the court.




            I/Defendant shall surrender and/or refrain from obtaining a passport.


                                                                                 ' ,x
                                                                                        : :fRAVEL
                                                                                        ',~'




       ~ravel is restricted to the Eastern District of Pennsylvania. ·
       - - - Travel is restricted to the - - - - - - - - - - - - - - - - - - -
       ___ Unless prior permission is granted by Pretrial Services.
                                  ..   /~,1\«''. ':' ) '", :,'' _,',,'' '                                     ,.:;.::n:.      :~·.:z·. :n.,••'.I
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       ~fondant shall surrender and/or refrain from obtaining any firearms.                       Any other
                            firearms in any premises where the defendant resides while on supervised release
                            must be removed from the premises and no firearms are to be brought into the
                            premises during this period. The defendant shall execute a completed Prohibition
                            on Possession of Firearms Agreement.

                                                                            . :. ·. MISCELLANEOUS.

        'V'riefendant shall have no contact with co-defendants, potential witnesses in this
             case, or individuals engaged in any criminal activity.
       ___ Defendant must maintain present employment.
       ___ Defendant must actively seek gainful employment.
       _ __,,Defendant shall undergo a mental competency evaluation.
             VDefendant must reside:

                            at:

                            with:




       ___The Defendant is subject to the following computer/internet restrictions which are
to be monitored by U.S. Pretrial Services and may include manual inspection, use of minimally
invasive internet detection devices, and/or installation of computer monitoring software to insure
compliance with the imposed restrictions.

      _ _ _No computer: The Defendant is prohibited from possession and/or use of any
computers and connected devices.



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       _ _ _Computer, no internet access: The Defendant is permitted use of computers or
connected devices, but is not permitted access to the Internet (as World Wide Web, FTP sites,
IRC servers, instant messaging).

        _ _ _ Computer with internet access: The Defendant is permitted use of computers or
connected devices, is permitted access to the internet for legitimate purposes, and is responsible
for any fees connected with the installation and use of monitoring software.

       ____Other Residents: By consent of other residents, all computers located at the
address of record shall be subject to inspection to insure the equipment is password protected.

       - - - -Other Restrictions:

OTHERCONDITIONS:            ~ ~~ ~                           b    ~ ~ /~
        As a further condition of release, defendant shall not commit a Federal, State, or local
crime during the period of release. The commission of a Federal offense while on pretrial release
will result in an additional sentence of a term of imprisonment of not more than 10 years, if the
offense is a felony; or a term of imprisonment of not more than 1 year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.




                                                      DEFENSE ATTORNEY


                                        H.
       It is so ORDERED this       /I        day of   J:9(2 ~W           '2015.


                                     BY THE COURT:



                                               ~
                                     UNITED STATES MAGISTRATE JUDGE




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